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                                 EXHIBIT 13
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1                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                                COUNTY OF ALAMEDA
3                        HON. RICHARD SEABOLT, JUDGE
4
5     ALISON DAUGHERTY, individually
      and as successor-in-interest
6     to JAMES DAUGHERTY; MATTHEW
      DAUGHERTY; and TIFFANY
7     DAUGHERTY,
8                  Plaintiffs,
9           vs.                                      Case No. RG19013937
10    JOHNSON & JOHNSON, et al.,
11                 Defendants.
      _____________________________/
12
13
14
15
16            Reporter's Transcript of Remote Proceedings
17                          Friday, May 19, 2023
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21
22
23                Reported By:     Sheila Pham, CSR No. 13293
24
25

                           Aiken Welch, A Veritext Company
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1     cases.     And you know all of this better than I do.

2                 Are King & Spalding; that is, the Johnson &

3     Johnson lawyers representing Johnson & Johnson in these

4     cases, on Zoom or in the courtroom?

5                 MR. SATTERLEY:     So, Your Honor, I see Mr. Calfo

6     on Zoom.

7                 Hey, Alex, how are you doing?

8                 MR. CALFO:     Good morning.

9                 And good morning, Judge.

10                MR. SATTERLEY:     I see Jay Bhimani is on Zoom.

11    He's with the firm that represents J&J in the Reyes

12    case.    And I see Julia Romano and I see the retailers

13    are represented as well.        So I think everybody is

14    represented.

15                So I've got a plan so that we don't have to

16    spend a lot of time today.         What I would request -- two

17    different things.        The Reyes case, which --

18                Jay, are you with Dechert now, the Dechert law

19    firm?

20                MR. BHIMANI:     That's right.

21                MR. SATTERLEY:     So the Reyes case is an

22    individual case I want to talk about, and then all of

23    the other cases, I want to lump together.              And I want to

24    get a reservation number for a motion to consolidate

25    that I'm going to file, and we'll get a briefing

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1     schedule so that we can get a plan in place to

2     consolidate some or all of the cases together.

3                 So we can just set all the other cases aside

4     other than --

5                 THE COURT:    Reyes.

6                 MR. SATTERLEY:     -- Reyes.      Eagles has a trial

7     date already, so we can talk about that briefly.

8                 So, really, three things on all of these

9     cases --

10                THE COURT:    May I ask -- and I apologize for

11    interrupting, but have you discussed with Johnson &

12    Johnson's counsel the idea of consolidating all the

13    other cases?

14                MR. SATTERLEY:     Not -- no.      I mentioned it to

15    some counsel because there's different counsel in

16    different case.      And Reyes, for example, wouldn't

17    necessarily be consolidated because it still has a

18    preference status.       It's been a preference twice now,

19    and it's still a preference case.

20                So if I could, my ultimate goal today is to

21    simply get a reservation number for a motion to

22    consolidate, and then I can meet and confer with defense

23    counsel regarding a briefing schedule regarding that

24    issue.     And during the briefing schedule, we might be

25    able to come to some agreements.           I doubt it, but we

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1     might be able to.      So that's all the cases with the

2     exception of the Reyes case.

3                Reyes, I would request it be set for trial.

4     Again, this will be the third time.            And that's the

5     reason why I contested the tentative setting it out

6     until later this fall, is because the Reyes case -- to

7     give Your Honor just a history of that case, in 2020,

8     during COVID, I think it was the very first Zoom trial

9     that -- or close to being the very first Zoom trial,

10    certainly, the first J&J Zoom trial, we started that

11    case with Judge Kaus.       It was assigned to Judge Kaus.

12    And I think it was -- it began in September.            And we

13    handled all motions in limine, ruled on all motions in

14    limine, we had jury selection for several weeks, we

15    picked a jury, and then after opening statement,

16    Mr. Reyes died and a mistrial was granted.

17               Then in 2021, we amended the complaint to

18    wrongful death, we moved for a preference setting

19    because his daughter was under the age of 14.            Judge Lee

20    granted the preference, set it for trial in August of

21    2021 as a preference setting, but because Judge Lee was

22    so busy with trials, she trailed that -- she had this

23    case trailed, even though I don't agree that a

24    preference case can trail like that under the

25    circumstance that occurred.         And it trailed so long that

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1     can we set a hearing date later?

2                THE CLERK:     A reservation number is a date.

3                MR. SATTERLEY:      Is a date.

4                THE CLERK:     Yes, of hearing.

5                THE COURT:     And, again, with some reservation

6     because, Mr. Satterley, you sometimes tell me that I

7     shouldn't comment before hearing from both sides.             In

8     this instance, from where I sit, consolidation has some

9     advantages because, as everybody knows, we're

10    backlogged, and consolidating cases, and I'm mindful of

11    the fact that -- I gather San Francisco, some years ago,

12    consolidated cases.       The First District Court of Appeal

13    had issues with that, although, as I understand it, and

14    I didn't do a deep dive into this, the concern was that

15    the cases weren't sufficiently similar to consolidate.

16               So with all of that, candidly, I'm kind of in

17    favor of consolidation so long as the cases are

18    sufficiently similar to comply with guidance from the

19    appellate courts and, frankly, my own instincts, that

20    cases that are tried together ought to have similar

21    facts.

22               MR. SATTERLEY:      And that's what we have put

23    forth in the motion.       Your Honor is exactly correct.

24    For years and years, we used to try consolidated

25    asbestos cases all the time back in the '90s and early

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1     2000s.    And I'm sure J&J will oppose it and argue that

2     they're not substantially similar or similar enough, and

3     that's what we'll hash out over the next several weeks

4     or couple of months, you know.

5                THE COURT:     Sure.

6                MR. SATTERLEY:      So if we could set it for

7     argument later this summer, I mean, I'm not trying to

8     rush anything, and then give us plenty of time to meet

9     and confer, you know.       And there may be two separate

10    consolidations.      Conceptually, there might be

11    consolidating a wrongful death and consolidating living.

12    I mean, there may be two separate --

13               THE COURT:     And that's why I said what I said.

14    I want both sides to meet and confer to try to come to

15    as much agreement as possible.          It doesn't surprise me,

16    frankly, I wouldn't have a job if everybody could

17    resolve all things without guidance from the Court.

18               But I would like the meet and confer to be

19    mindful, both sides to think about how consolidation

20    ought to occur so that, in fact, given that they're

21    probably -- well, there may be disagreement over what is

22    or what isn't substantially similar, that the

23    consolidation motion is guided by getting cases that

24    have at least some similarities together.

25               And I'd suggest that we not do this on Friday.

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